     Case 3:19-md-02913-WHO Document 3817 Filed 02/24/23 Page 1 of 20



 1    [Submitting Counsel on Signature Page]

 2

 3

 4

 5

 6

 7

 8                                  UNITED STATES DISTRICT COURT
 9                               NORTHERN DISTRICT OF CALIFORNIA
10                                      SAN FRANCISCO DIVISION
11

12    IN RE JUUL LABS, INC.,                           Case No. 19-md-02913-WHO
      MARKETING, SALES PRACTICES,
13    AND PRODUCTS LIABILITY                           JOINT PRETRIAL CONFERENCE
      LITIGATION                                       STATEMENT
14

15                                                     Judge:       Hon. William H. Orrick
     This Document Relates to:                         Date:        March 10, 2023
16                                                     Time:        9:30 a.m.
   San Francisco Unified School Dist. v. Juul          Ctrm.:       2
17 Labs, Inc., et al.

18 Case No. 3:20-cv-08177-WHO

19

20    I.     THE ACTION
21           A.      Substance of the Action

22           A brief description of the substance of claims and defenses that remain to be decided.

23           Plaintiff San Francisco Unified School District (“SFUSD”) alleges that extensive JUUL use

24    by students within the district has caused a variety of harms for SFUSD. The Defendants are Altria

25    Group, Inc., Philip Morris USA Inc., Altria Client Services LLC, and Altria Group Distribution

26    Company (collectively, the “Altria”). By stipulation, the parties have agreed to treat the four Altria

27    Defendants as a single Defendant at trial.

28

                                                                       JOINT PRETRIAL CONFERENCE STATEMENT
                                                                                     CASE NO. 19-md-02913-WHO
     Case 3:19-md-02913-WHO Document 3817 Filed 02/24/23 Page 2 of 20



 1   Plaintiff’s causes of action:

 2          SFUSD asserts the following claims against Altria:

 3               x     Negligence;

 4               x     Public nuisance;

 5               x     Civil RICO claims under 18 U.S.C. § 1962(c) (enterprise) and § 1962(d) (RICO

 6                     conspiracy).

 7          SFUSD has voluntarily dropped the following claim as an independent cause of action

 8   against Altria:

 9               x     Gross negligence

10   Affirmative defenses:

11          Altria asserts the following affirmative defense:

12               x     Failure to Mitigate

13          B.         Relief Prayed

14          A detailed statement of all the relief claimed, particularly itemizing all elements of damages
     claimed as well as witnesses, documents, or other evidentiary material to be presented concerning
15   the amount of those damages.

16          SFUSD’s Statement:

17          On its negligence claim, SFUSD seeks damages allegedly sustained due to the vaping

18   epidemic on SFUSD campuses, caused by the Altria’s marketing, promotion, and sale of JUUL

19   products, including Altria’s efforts to keep all JUUL products, and particularly flavored products,

20   on the market. SFUSD also seeks punitive damages. On its RICO claim, SFUSD seeks treble

21   damages from the jury based on injuries caused to SFUSD’s business or property by Altria’s

22   participation in an alleged RICO enterprise and conspiracy, along with several individuals who

23   were founders and/or Board members at Juul Labs, Inc. (“the former Individual Defendants”).

24   SFUSD alleges that Altria operated JLI as a fraudulent enterprise with the former Individual

25   Defendants. SFUSD further alleges that Altria and the former Individual Defendants conspired to

26   violate RICO, causing harm to SFUSD. On its public nuisance claim, SFUSD seeks abatement

27   remedies, to be determined by the Court, to alleviate the public nuisance allegedly created by Altria,

28   JLI, and the former Individual Defendants.

                                                                      JOINT PRETRIAL CONFERENCE STATEMENT
                                                     -2-                            CASE NO. 19-md-02913-WHO
     Case 3:19-md-02913-WHO Document 3817 Filed 02/24/23 Page 3 of 20



 1          Specifically, SFUSD seeks a judgment against Altria on its negligence claim to compensate

 2   the district for various harms, including but not limited to physical damage to district property; lost

 3   access to district property; financial expenditures to address the vaping crisis, including past

 4   expenditures and necessary future expenditures for personnel and new equipment such as vaping

 5   detectors; lost staff time due to the vaping crisis, which necessitates the need to hire additional

 6   personnel; the need to create new and better programs at SFUSD to address and discourage vaping

 7   on SFUSD’s campuses; and, the massive disruption caused at SFUSD’s schools, which inhibits

 8   SFUSD’s ability to complete its mission of educating its students and protecting their safety.

 9   Plaintiff also seeks punitive damages to punish and deter Defendants, costs of litigation, pre-

10   judgment and post-judgment interest at the lawful rate, and any other relief as this Court may deem

11   equitable and just. On SFUSD’s RICO claim, SFUSD seeks treble damages from Altria, based on

12   its conduct of a pattern of racketeering activity—namely, mail and wire fraud—along with the

13   former Individual Defendants, which caused the vaping epidemic at SFUSD and directly harmed

14   SFUSD’s business or property.

15          SFUSD also has a claim for public nuisance. SFUSD seeks to hold Altria liable for its role

16   in creating the vaping epidemic at SFUSD, and it seeks an order from the Court designed to fund

17   all measures necessary to abate the nuisance caused by Altria, JLI, and the former individual

18   Defendants. The jury will determine in Phase I of the trial whether Altria contributed to causing a

19   public nuisance. Then, the Court will determine the remedy in Phase II, if the jury answers

20   affirmatively.

21          SFUSD’s damages calculations will be based primarily on the testimony of expert witness

22   Michael Dorn, who has determined the measures necessary to address the vaping crisis in SFUSD’s

23   schools. Mr. Dorn also has determined the precise cost of those measures. Thus, any suggestion

24   that Plaintiff’s damages are speculative or non-economic in nature is inaccurate. They are also not

25   “future damages,” as Defendants contend, because Mr. Dorn proposes solutions for existing harms,

26   not for harms that he predicts will occur in the future.1 Further, Defendants’ characterization of

27
     1
       Altria’s argument on damages, recited below, is similar to the argument that it makes in its
28   supplemental summary judgment motion. SFUSD will soon respond to that motion. Plaintiff’s
     position, broadly stated, is that Mr. Dorn’s testimony will explain the need for, and the price of,
                                                                       JOINT PRETRIAL CONFERENCE STATEMENT
                                                      -3-                            CASE NO. 19-md-02913-WHO
     Case 3:19-md-02913-WHO Document 3817 Filed 02/24/23 Page 4 of 20



 1   Plaintiff’s damages as “expert opinions” that “relate to efforts to reduce youth vaping (i.e., the

 2   alleged nuisance) in the future” is inaccurate, or at least incomplete. Mr. Dorn opines that physical

 3   alterations to SFUSD’s property are needed to address the vaping crisis, including but not limited

 4   to the installation of vaping detectors and cameras. It is Plaintiffs’ abatement experts that focus on

 5   a broader approach to reducing or eliminating youth vaping generally, thereby abating the nuisance

 6   into the future. Mr. Dorn’s proposed actions are designed to detect vaping when it occurs, and

 7   therefore to deter students from vaping on school grounds.

 8          SFUSD’s witnesses to be presented concerning these damages and/or abatement include

 9   but are not limited to experts Dorn, Dr. Bonnie Halpern-Felsher, Dr. Steven Kelder, Dr. David

10   Cutler, Dr. Jonathan Winickoff, Dr. Kurt Rbisil, Dr. Robert Johnson, and Dr. John Chandler.

11   SFUSD anticipates that Drs. Kelder and Winickoff will only be called during the abatement phase.

12   Several SFUSD witnesses will also testify as to the impact of the JUUL-led vaping epidemic at

13   SFUSD. The SFUSD witnesses that Plaintiff expects to call live at trial include SFUSD

14   administrators Erica Lingrell and Quarry Pak; health education teacher Christopher Pepper, who

15   led development of SFUSD’s “Juul School”; and former SFUSD students Madeline Cho and Kaya

16   Lehr-Love. SFUSD’s key documents to be presented concerning these damages include the

17   documents reviewed and relied upon by expert witnesses, documents regarding SFUSD’s finances,

18   documents regarding the impact of JUUL on SFUSD and nationally, and internal documents

19   showing the planning and the effect of Altria’s and the former Defendants’ product design and

20   marketing strategies—including actions to prevent or reduce regulatory action to keep the JUUL

21   product and certain flavors on the market.

22          Finally, SFUSD reserves the right to supplement or amend its witness and exhibit lists,

23   designations, motions in limine, jury instructions, and proposed verdict forms, as necessary in

24   response to Court orders or other developments.

25

26   personnel and equipment to remedy existing problems on the district’s property. The fact that
     SFUSD has not had the finances to solve these problems does not mean that the problems do not
27   exist, or that they do not constitute “damage to business or property.” His report could be analogized
     to a life-care plan for a personal injury victim, in which the expert explains the measures that need
28   to be taken to allow that person to live as normal a life as possible in light of damages already
     suffered.
                                                                      JOINT PRETRIAL CONFERENCE STATEMENT
                                                     -4-                            CASE NO. 19-md-02913-WHO
     Case 3:19-md-02913-WHO Document 3817 Filed 02/24/23 Page 5 of 20



 1          Altria’s Response:

 2          Altria seeks judgment in its favor and against Plaintiff and denies that Plaintiff is entitled to

 3   damages or to any other relief enumerated in its operative complaint.

 4          Furthermore, as set out in JLI’s Motion for Summary Judgment (Doc. 3396), Altria’s

 5   Motion for Summary Judgment (Doc. 3405), NMD’s Motion for Summary Judgment (Doc. 3384),

 6   Bowen’s Motion for Summary Judgment (Doc. 3394), Monsees’s Motion for Summary Judgment

 7   (Doc. 3401), and in Defendants’ reply memoranda in support of the same (Docs. 3520, 3521, 3525,

 8   3527, 3530), Plaintiff does not have standing to bring a public nuisance action, cannot seek an

 9   equitable remedy as a matter of law, and fails to present admissible evidence concerning its claimed

10   damages.

11          On both its negligence claim and its RICO claim, Plaintiff has failed to provide sufficient

12   evidence of damages resulting from Altria’s conduct. Its claims of physical property damage,

13   alleged in support of its negligence claim, boil down to four alleged harms: (i) one broken bathroom

14   door; (ii) one slightly damaged chain-link fence; (iii) one complaint of damage to seat covers and

15   a water valve cover; and (iv) one chained and locked doorway to a balcony stairwell. See JLI’s

16   Reply re Motion for Summary Judgment (Doc. 3520) at 10. These alleged damages lack any

17   connection to Altria’s actions or JUUL products, and they are supported only by a handful of

18   secondhand accounts and inadmissible hearsay. Id. at 10-11. Even if they were supported by

19   admissible evidence, these minimal claims of property damage would be woefully insufficient to

20   support Plaintiff’s request for damages and abatement awards for hundreds of millions of dollars,

21   and they cannot form the requisite basis for Plaintiff’s public nuisance claim. Plaintiff has also tried

22   to recast a portion of its abatement calculations as evidence of future damages for its negligence

23   and RICO claims, but the expert opinions it relies on relate to efforts to reduce youth vaping (i.e.,

24   the alleged nuisance) in the future, not a calculation of the economic damage Plaintiff itself will

25   allegedly suffer in the future, and are thus classic abatement opinions (and have even been

26   characterized as such by Plaintiff’s own experts).

27          Plaintiff’s other claimed damages are neither supported by admissible evidence nor

28   attributable to Altria’s conduct. Its vague claims such as “lost staff time” and “expenditures to

                                                                        JOINT PRETRIAL CONFERENCE STATEMENT
                                                      -5-                             CASE NO. 19-md-02913-WHO
     Case 3:19-md-02913-WHO Document 3817 Filed 02/24/23 Page 6 of 20



 1   address the vaping crisis” are not enumerated or quantified in the admissible record evidence. In

 2   addition, none of Plaintiff’s fleet of experts quantifies any actual past damages suffered by Plaintiff

 3   or performs a calculation of alleged future damages; all of Plaintiff’s experts address abatement

 4   remedies, not measures of damages. As a result, Plaintiff has no non-speculative measures of actual

 5   damages, and thus no damages case to present to the jury for its tort claims in this matter.

 6   Furthermore, these alleged damages are connected to Altria’s conduct only by an attenuated theory

 7   constructed by Plaintiff’s experts: that JUUL products were uniquely responsible for an “epidemic”

 8   of youth vaping, and that Altria should be financially responsible for paying for all damages related

 9   to youth vaping and abating all youth vaping, despite Altria’s limited involved with respect to JUUL

10   products, and regardless of whether Altria has any connection to the other brands of vaping products

11   used in the past or presently. Not only is this theory overly broad and improper on its face,

12   Plaintiff’s experts cannot point to any specific instances of wrongful Altria conduct that would

13   support such a theory, nor can Plaintiff cite a single comparable instance where an investor in an

14   individual manufacturer has been held accountable for the downstream effects of an entire product

15   sector and all participants in that product sector’s supply chain.

16          Altria also disputes that the specific abatement remedies Plaintiff’s seek are appropriate or

17   necessary in light of current trends related to e-vapor use, Altria’s limited involvement in the

18   alleged misconduct, and the time period during which that involvement took place, and further

19   disputes that Plaintiff’s proposed abatement structures are practical, feasible, or tailored to address

20   youth vaping.

21          Plaintiff is therefore entitled to none of the relief it requests. As noted above, Plaintiff has

22   presented no admissible evidence of physical or economic damages attributable to Altria’s conduct,

23   and its abatement case also suffers from multiple fatal flaws. Punitive damages are therefore

24   inapplicable, as are Plaintiff’s claimed RICO damages.

25          Altria’s witnesses to be presented concerning the deficiencies in Plaintiff’s causation,

26   damages, and abatement theories claims include experts Jack Henningfield, Darius Lakdawalla,

27   Larry Mefford, Kevin Murphy, and Ed Rock. Additional fact witnesses will also offer testimony

28   relevant to Plaintiff’s claims and Altria’s defenses. Altria will also rely on testimony from

                                                                          JOINT PRETRIAL CONFERENCE STATEMENT
                                                      -6-                               CASE NO. 19-md-02913-WHO
     Case 3:19-md-02913-WHO Document 3817 Filed 02/24/23 Page 7 of 20



 1   Plaintiff’s own administrator witnesses as well as Plaintiff’s own documents concerning its

 2   response to student vaping and its finances, as well as evidence and data concerning youth vaping,

 3   among other things, to demonstrate that Plaintiff cannot establish causation or entitlement to the

 4   relief it seeks. Finally, Altria reserves the right to supplement or amend its witness and exhibit

 5   lists, designations, motions in limine, jury instructions, and proposed verdict form.

 6   II.    THE FACTUAL BASIS OF THE ACTION
 7          A.      Undisputed Facts

 8          A plain and concise statement of all relevant facts not reasonably disputable, as well as
      which facts parties will stipulate for incorporation into the trial record without the necessity of
 9    supporting testimony or exhibits.
10          The parties have agreed to a stipulation by which all of the Altria Defendants will be
11   grouped together as if they are a single Defendant, and any verdict against this single Altria
12   Defendant will constitute a verdict against Altria Group, Inc. (Doc. 3468). The parties have not
13   agreed to a list of undisputed facts. The parties have agreed to many aspects of a jury instruction,
14   titled “Claims and Defenses,” introducing the jury to the nature of the case. But the parties disagree
15   as to what, if anything, that instruction should say about SFUSD’s settlement with JLI and the
16   former Individual Defendants.
17          B.      Disputed Factual Issues
18          A plain and concise statement of all disputed factual issues that remain to be decided.
19          The parties dispute whether Altria engaged in negligent conduct, whether Altria’s alleged
20   negligence caused SFUSD’s alleged damages, whether SFUSD failed to mitigate its alleged
21   damages, and the extent of SFUSD’s alleged damages. The parties also dispute whether Altria and
22   the former Individual Defendants operated JLI as an enterprise through a pattern of racketeering
23   activity, which caused harm to SFUSD’s business or property, such that Altria should be held
24   jointly and severally liable for treble damages under the RICO enterprise statute (18 U.S.C. §
25   1962(c)). The parties also disagree about whether Altria and the former Individual Defendants
26   conspired to violate the RICO statute in violation of 18 U.S.C. § 1962(d), thereby causing damage
27   to SFUSD’s business or property. The parties further dispute the amount of any damage to
28   SFUSD’s business or property. Finally, the parties dispute whether Altria contributed to causing a

                                                                      JOINT PRETRIAL CONFERENCE STATEMENT
                                                     -7-                            CASE NO. 19-md-02913-WHO
     Case 3:19-md-02913-WHO Document 3817 Filed 02/24/23 Page 8 of 20



 1   public nuisance, and if so, the extent and location of any nuisance and the propriety of the remedies

 2   required to abate that nuisance.

 3             C.       Agreed Statement

 4             A statement assessing whether all or part of the action may be presented upon an agreed
 5       statement of facts.

 6             The parties have not agreed to present an agreed statement of facts.

 7             D.       Stipulations
 8             A statement of stipulations requested or proposed for pretrial or trial purposes.
 9             The parties have no proposed stipulations for the Court’s consideration at this time. In
10   addition to the Altria stipulation noted above, the Court has entered an Order implementing the
11   parties’ stipulation deeming certain orders regarding Motions in Limine from the B.B. case to be
12   effective in this action. (Doc. 3473).2
13   III.      DISPUTED LEGAL ISSUES
14             A.       Points of Law
15
               Without extended legal argument, a concise statement of each disputed point of law
16       concerning liability or relief, citing supporting statutes and decisions setting forth briefly the
         nature of each party's contentions concerning each disputed point of law, including procedural
17       and evidentiary issues.
18             The parties refer the Court to the following pending motions:

19                  x   Plaintiff’s Motion to Exclude the Expert Testimony of Larry Mefford (Doc. 3460);

20                  x   Altria’s Motion for Summary Judgment (Doc. 3405); Altria’s Supplemental Motion

21                      in Support of Summary Judgment (Doc. 3807);Valani, Pritzker, and Huh’s Motion

22                      for Summary Judgment (Doc. 3384), joined by Altria (Doc. 3412);

23                  x   Bowen’s Motion for Summary Judgment (Doc. 3394), joined by Altria (Doc. 3412);

24                  x   JLI’s Motion for Summary Judgment (Doc. 3396), joined by Altria (Doc. 3412);

25                  x   Monsees’ Motion for Summary Judgment (Doc. 3401), joined by Altria (Doc.

26                      3412);

27
     2
       SFUSD, through its Motion in Limine listed below (Doc. 3788, MIL A), has asked the Court to
28   modify one aspect of the order that prohibits testimony about prior litigation in most circumstances,
     to allow limited information about United States v. Philip Morris USA, Inc.
                                                                        JOINT PRETRIAL CONFERENCE STATEMENT
                                                       -8-                            CASE NO. 19-md-02913-WHO
     Case 3:19-md-02913-WHO Document 3817 Filed 02/24/23 Page 9 of 20



 1              x   Valani, Huh, and Pritzker’s Daubert Motion (Doc. 3388), joined by Altria (Doc.

 2                  3412);

 3              x   Altria’s Motion to Exclude the Opinions of Plaintiff’s Government Entity

 4                  Bellwether Experts – David Cutler and Minette Drumwright (Doc. 3400);

 5              x   JLI’s Motion to Exclude Testimony of Plaintiff’s Abatement Experts (Doc. 3408),

 6                  joined by Altria (Doc. 3412);

 7              x   JLI’s Motion to Exclude Testimony of Plaintiff’s Electronic Surveillance and

 8                  School Infrastructure Abatement Experts (Doc. 3462), joined by Altria (Doc.

 9                  3816) 3;

10              x   Plaintiff’s Motions in Limine—those originally filed in the case with all Defendants

11                  (Doc. 3552):

12                  I.A. MIL to admit notes taken by Zachary Frankel

13                  I.B. MIL to admit evidence related to Philip Morris Int’l and K.C. Crosthwaite

14                  II.A. MIL to bar speculation as to how SFUSD would use a damages award

15                  II.B. MIL to bar Professor Rock’s improper legal testimony

16                  II.C. MIL to bar certain evidence affecting public perceptions of SFUSD

17                  II.D. MIL to bar evidence regarding unspent tobacco grants/failure to apply

18                  --MIL II.E is moot, as Altria is no longer raising the comparative fault of SFUSD as
                    a defense.
19
                x   Plaintiff’s additional Motions in Limine, filed on February 10, 2023 (Doc. 3788):
20
                    A. MIL to admit limited information from U.S. v. Philip Morris
21
                    B. MIL to admit the Greenleaf Report (also MIL I.C. in Doc. 3552)
22
                    C. MIL to admit certain testimony excluded by the Special Master
23
                    D. MIL to exclude evidence about the value of Altria’s investment in JLI
24
                    E. MIL to exclude information about settlement terms
25

26

27
     3
28    SFUSD reserves the right to contend that this motion is not properly before the Court, given that
     Altria did not join the motion until the date of this filing—long after the Daubert deadline.
                                                                     JOINT PRETRIAL CONFERENCE STATEMENT
                                                    -9-                            CASE NO. 19-md-02913-WHO
     Case 3:19-md-02913-WHO Document 3817 Filed 02/24/23 Page 10 of 20



 1            x   Defendants’ Motions in Limine—those originally filed in the case with all
                  Defendants (Doc. 3556):
 2
                  I. MIL to bar FDA’s stayed interim denial of JUUL’s PMTA
 3
                  II. MIL to bar hearsay concerning students’ alleged vapor use and the impact of
 4                vapor use at schools
 5                III. MIL to bar certain marketing not distributed in San Francisco
 6                IV. MIL to bar vaping-related incidents not related to SFUSD or San Francisco
 7                V. MIL to bar evidence and media coverage characterizing JLI as the cause of San
                  Francisco’s 2019 ENDS ban and JLI’s lobbying related to San Francisco’s 2019
 8                “Proposition C”
 9                VI. MIL to bar flavors not sold in San Francisco
10                VII. MIL to bar evidence and argument regarding nicotine disclosures on
                  labels/packaging (express preemption)
11
                  VIII. MIL to bar evidence regarding youth THC usage
12
                  IX. MIL to bar education and youth prevention programs in other school districts
13
                  X. MIL to bar online age-verification processes and purchases by underage persons
14
                  XI. MIL to bar JUUL advertisements and coupons for JUUL disseminated by Altria
15
                  XII. MIL to bar Altria’s retail and distribution services
16
                  XIII. MIL to bar arguments that investment provides control or creates liability for
17                investor
18                XIV. MIL to bar opinions that vapor use contributed to school shooting deaths or
                  injuries
19
                  XV. MIL to bar Mr. Monsees’ constitutionally protected congressional testimony
20
                  XVI. MIL to bar expert testimony containing pejorative language, factual narratives,
21                or new opinions
22                XVII. MIL to bar expert testimony regarding abatement plans and alleged damages
23                XVIII. MIL to bar dividends received from the Altria transaction
24                XIX. MIL to bar Nicholas Pritzker’s family ties to the tobacco industry
25                XX. MIL to bar evidence of chemicals in JUUL other than nicotine and of health
                  conditions other than addiction
26
                  XXI. MIL to bar evidence regarding Mr. Monsees’ recording of conversation with
27                Stanton Glantz
28
              x   Altria’s New Motions in Limine, filed on February 10, 2023 (Doc. 3790):
                                                                     JOINT PRETRIAL CONFERENCE STATEMENT
                                                  - 10 -                           CASE NO. 19-md-02913-WHO
     Case 3:19-md-02913-WHO Document 3817 Filed 02/24/23 Page 11 of 20



 1                   I. MIL to exclude the testimony of Madeline Cho and Kaya Lehr-Love

 2                   II. MIL to exclude reference to the settlement between SFUSD and JLI and
                     Individual Defendants
 3
                     III. MIL to exclude evidence about which Altria has no knowledge
 4
                     IV. MIL to exclude internal JLI documents pre-dating Altria’s involvement with JLI
 5
                     V. Additional Argument on Previously Filed MILs
 6
                 x   The parties’ joint submission on jury instructions, both agreed and contested, which
 7
                     is attached to this filing as Exhibit A;
 8
                 x   The parties’ proposed verdict forms, which are attached as Exhibit B (SFUSD) and
 9
                     Exhibit C (Altria).
10

11          Jury instructions: The parties have exchanged proposed jury instructions and have worked
12   on reaching agreement on as many instructions as possible. The Court-ordered deadline is today
13   (February 24, 2023) for the parties to submit the agreed instructions, the instructions on which they
14   disagree, and the arguments as to why the Court should issue their proposed instructions. As noted
15   above, the parties’ proposed instructions and arguments related to contested instructions are
16   attached as Exhibit A.
17          Live streaming: Based on prior discussions, the parties anticipate that members of the trial
18   teams and MDL counsel will have access to a video stream of the trial. The parties will work with
19   the Court on the specific details.
20          B.       Juror Questionnaire and Voir Dire
21          On October 11, 2022, the parties proposed competing juror questionnaires with the previous
22   Joint Pretrial Statement. (Doc. Nos. 3591-6, 3591-8). On October 14, 2022, the Court adopted
23   Exhibit D as the final questionnaire for the SFUSD trial. (Docs. 3598, 3599). The parties submit
24   that Exhibit D remains appropriate for the April trial.
25          In addition to thirty minutes per side of attorney voir dire, the parties request that each side
26   be permitted to give a five minute “mini opening” before voir dire begins. (See 5/9/22 Hearing Tr.
27   at 73-74 (stating that the Court would permit this practice if the parties agreed)).
28

                                                                       JOINT PRETRIAL CONFERENCE STATEMENT
                                                      - 11 -                         CASE NO. 19-md-02913-WHO
     Case 3:19-md-02913-WHO Document 3817 Filed 02/24/23 Page 12 of 20



 1   IV.       TRIAL PREPARATION

 2             A.      Witnesses to be Called
 3
               A list of all witnesses likely to be called at trial, other than solely for impeachment or
 4       rebuttal, together with a brief statement following each name describing the substance of the
         testimony to be given.
 5
               The parties exchanged witness lists in January 2023, pursuant to this Court’s Scheduling
 6
         Order (Doc. 3754). Plaintiff updated this witness list on February 9. Plaintiff’s witness list is
 7
         attached as Exhibit E. Plaintiff has separated its witness list into categories, showing which
 8
         witnesses Plaintiff is likely to call and which are “may call” witnesses. Altria’s witness list is
 9
         attached as Exhibit F. 4
10
               B.       Exhibits, Schedules, and Summaries
11

12              A list of all documents and other items to be offered as exhibits at the trial, other than solely
         for impeachment or rebuttal, with a brief statement following each describing its substance or
13       purpose and the identity of the sponsoring witness. Unless otherwise ordered, parties will indicate
         their objections to the receipt in evidence of exhibits and materials lodged and that counsel have
14       conferred respecting such objections.
15             Pursuant to the Court’s Scheduling Order (Doc. 3754), the parties exchanged exhibit lists on

16   January 30, 2023. SFUSD’s Exhibit List included a Priority Exhibit List, containing 425 exhibits.5

17   Altria submitted a single Exhibit List of 276 exhibits. The parties exchanged their objections on

18   February 6, 2023. The parties are continuing to go through the meet and confer process to resolve

19   as many objections as they can, so the lists may be updated as that process continues. The parties’

20   updated exhibit lists are attached to this Joint Pretrial Statement. Plaintiff’s Exhibit List is attached

21   as Exhibit G. Plaintiff’s Priority Exhibit List, with Altria’s objections, is attached as Exhibit H.

22   Altria’s Exhibit List, with Plaintiff’s objections, is attached as Exhibit I.

23

24

25
     4
26     The parties are well familiar with these witnesses and have agreed to exchange simple lists without
     further description. The parties assume that the Court’s standard procedure is written for the parties’
27   benefit and is therefore waivable by the parties. But if the Court would like descriptions of each
     witness’s likely testimony for its own purposes, the parties will be happy to supplement this filing
28   with that information.
     5
       SFUSD has reserved the right to move exhibits on or off the Priority List as it prepares its case.
                                                                           JOINT PRETRIAL CONFERENCE STATEMENT
                                                         - 12 -                          CASE NO. 19-md-02913-WHO
     Case 3:19-md-02913-WHO Document 3817 Filed 02/24/23 Page 13 of 20



 1          C.      Estimate of Trial Time

 2          An estimate of the number of court days needed for the presentation of each party’s case,
      indicating possible reductions in time through proposed stipulations, agreed statements of facts,
 3
      or expedited means of presenting testimony and exhibits.
 4          The Court has ruled that each side will have up to 40 hours to present their cases, including
 5    openings, closings, and the presentation of evidence. Plaintiff has proposed 12 hours per side for
 6    the abatement phase, if there is one. Altria proposes that the Court wait to determine the length of
 7    an abatement phase, if any, until after the jury has reached a verdict in Phase 1.
 8          D.      Use of Discovery Responses
 9
            Counsel shall cite possible presentation at trial of evidence, other than solely for
10   impeachment or rebuttal, through use of excerpts from depositions, interrogatory answers, or
     responses to requests for admission. Counsel shall indicate any objections to use of these materials
11   and that counsel has conferred respecting such objections.
12          The Court has entered the schedule to which the parties agreed. (Doc. 3785). Pursuant to

13   the schedule, the parties exchanged their deposition designations in two tranches, on February 6

14   and February 21. The parties will exchange counter-designations and objections on February 27

15   and March 6. The parties will exchange counter-counters and objections on March 8 and March 13.

16   The parties will exchange objections to counter-counters on March 15 and March 20. The parties

17   will also exchange excerpts from Interrogatory answers and Requests for Admission on March 20.

18   The parties will submit these materials to the Court on March 29.

19          E.      Further Discovery or Motions

20          A statement of all remaining discovery or motions, including motions in limine.

21          Certain discovery is ongoing in accordance with Court orders, including certain depositions

22   of witnesses scheduled to appear live at trial.

23          The first round of motions in limine was filed on October 3, 2022, and responses were filed

24   on October 17, 2022. The parties filed additional motions in limine on February 10 and will respond

25   by February 28.

26          An additional contested issue is whether Altria may raise evidence or argument relating to

27   events that post-date the close of discovery, given that Altria ceased production of responsive

28

                                                                      JOINT PRETRIAL CONFERENCE STATEMENT
                                                       - 13 -                       CASE NO. 19-md-02913-WHO
     Case 3:19-md-02913-WHO Document 3817 Filed 02/24/23 Page 14 of 20



 1   material to Plaintiffs’ requests after that date. Plaintiff anticipates filing a motion to preclude such

 2   evidence next week and will work with Altria on establishing a briefing schedule.

 3   V.     TRIAL ALTERNATIVES AND OPTIONS

 4          A.       Settlement Discussion

 5           A statement summarizing the status of settlement negotiations and indicating whether
     further negotiations are likely to be productive.
 6
     The parties have been cooperatively working with the Court-appointed Settlement Master.
 7

 8          B.       Consent to Trial Before a Magistrate Judge

 9           A statement whether reference of all or part of the action to a master or magistrate judge
     is feasible, including whether the parties consent to a court or jury trial before a magistrate judge,
10   with appeal directly to the Ninth Circuit.
11
            The trial will be before Judge Orrick.
12
            C.       Amendments, Dismissals
13
            A statement of requested or proposed amendments to pleadings or dismissals of parties'
14   claims or defenses.
15          Plaintiff has voluntarily dropped the following independent claim against Altria:
16               x   Gross negligence.
17          D.       Bifurcation, Separate Trial of Issues
18
            A statement of whether bifurcation or a separate trial of specific issues is feasible and
19   desired.

20          The trial will take place in phases. Assuming that all claims survive summary judgment, in

21   Phase I the jury will decide liability and damages, including punitive damages, on the negligence

22   and RICO claims. The jury also will decide whether Altria is liable for causing a public nuisance

23   in SFUSD’s schools. If the jury answers that question affirmatively, then the parties will try Phase

24   II, the nuisance abatement phase, to the Court. The schedule for Phase II, if any, will be determined

25   following Phase I.

26

27

28

                                                                        JOINT PRETRIAL CONFERENCE STATEMENT
                                                      - 14 -                          CASE NO. 19-md-02913-WHO
     Case 3:19-md-02913-WHO Document 3817 Filed 02/24/23 Page 15 of 20



 1     Dated: February 24, 2023              Respectfully submitted,

 2
                                             By: /s/ Sarah R. London
 3
                                             Sarah R. London
 4                                           LIEFF CABRASER HEIMANN                       &
 5                                           BERNSTEIN
                                             275 Battery Street, Fl. 29
 6                                           San Francisco, CA 94111
                                             Telephone: (415) 956-1000
 7                                           slondon@lchb.com
 8
                                             By: /s/ Dena C. Sharp
 9
                                             Dena C. Sharp
10
                                             GIRARD SHARP LLP
11                                           601 California St., Suite 1400
                                             San Francisco, CA 94108
12                                           Telephone: (415) 981-4800
                                             dsharp@girardsharp.com
13

14                                               By: /s/ Dean Kawamoto
15                                           Dean Kawamoto
16                                           KELLER ROHRBACK L.L.P.
                                             1201 Third Ave., Ste. 3200
17                                           Seattle, WA 98101
                                             Telephone: (206) 623-1900
18                                           dkawamoto@kellerrohrback.com
19

20

21

22

23

24

25

26

27

28

                                                          JOINT PRETRIAL CONFERENCE STATEMENT
                                        - 15 -                          CASE NO. 19-md-02913-WHO
     Case 3:19-md-02913-WHO Document 3817 Filed 02/24/23 Page 16 of 20



 1

 2                                               By: /s/ Ellen Relkin

 3                                           Ellen Relkin
                                             WEITZ & LUXENBERG
 4
                                             700 Broadway
 5                                           New York, NY 10003
                                             Telephone: (212) 558-5500
 6                                           erelkin@weitzlux.com
 7                                           Co-Lead Counsel for Plaintiffs
 8
                                                 By: /s/ Thomas P. Cartmell
 9

10                                           Thomas P. Cartmell
                                             WAGSTAFF & CARTMELL LLP
11                                           4740 Grand Ave., Suite 300
                                             Kansas City, MO 64112
12                                           Telephone: (816) 701-1100
                                             tcartmell@wcllp.com
13

14                                           Counsel for SFUSD

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                                            JOINT PRETRIAL CONFERENCE STATEMENT
                                        - 16 -                            CASE NO. 19-md-02913-WHO
     Case 3:19-md-02913-WHO Document 3817 Filed 02/24/23 Page 17 of 20



 1    By: /s/ Beth A. Wilkinson

 2    Beth A. Wilkinson (pro hac vice)
      Brian L. Stekloff (pro hac vice)
 3    James M. Rosenthal (pro hac vice)
      Matthew R. Skanchy (pro hac vice)
 4    WILKINSON STEKLOFF LLP
      2001 M Street NW, 10th Floor
 5    Washington, DC 20036
      Telephone: (202) 847-4000
 6    bwilkinson@wilkinsonstekloff.com
      bstekloff@wilkinsonstekloff.com
 7    jrosenthal@wilkinsonstekloff.com
      mskanchy@@wilkinsonstekloff.com
 8
      Moira K. Penza (pro hac vice)
 9    WILKINSON STEKLOFF LLP
      130 West 42nd Street, 24th Floor
10    New York, NY 10036
      Telephone: 212-294-8910
11    mpenza@wilkinsonstekloff.com

12
      By: /s/ John C. Massaro
13
      John C. Massaro (admitted pro hac vice)
14    Daphne O’Connor (admitted pro hac vice)
      Jason A. Ross (admitted pro hac vice)
15    David E. Kouba (admitted pro hac vice)
      ARNOLD & PORTER KAYE SCHOLER LLP
16    601 Massachusetts Avenue NW
      Washington, DC 20001
17    Telephone:202-942-5000
      John.Massaro@arnoldporter.com
18    Daphne.OConnor@arnoldporter.com
      Jason.Ross@arnoldporter.com
19    David.Kouba@arnoldporter.com

20    Lauren S. Wulfe (SBN 287592)
      ARNOLD & PORTER KAYE SCHOLER LLP
21    777 South Figueroa Street, Forty-Fourth Floor
      Los Angeles, California 90017
22    Telephone: 213-243-4000
      Facsimile: 213-243-4199
23    Lauren.Wulfe@arnoldporter.com

24    Paul W. Rodney (admitted pro hac vice)
      ARNOLD & PORTER KAYE SCHOLER LLP
25    1144 15th Street, Suite 3100
      Denver, CO 80202
26    Telephone: 303-863-1000
      Facsimile: 303-832-0428
27    Paul.Rodney@arnoldporter.com

28

                                                         JOINT PRETRIAL CONFERENCE STATEMENT
                                                - 17 -                 CASE NO. 19-md-02913-WHO
     Case 3:19-md-02913-WHO Document 3817 Filed 02/24/23 Page 18 of 20



 1
      Angela R. Vicari (admitted pro hac vice)
 2    ARNOLD & PORTER KAYE SCHOLER LLP
      250 West 55th Street
 3    New York, NY 10019
      Telephone: 212-836-8000
 4    Facsimile: 212-836-8689
      Angela.Vicari@arnoldporter.com
 5
      Attorneys for Defendants Altria Group, Inc.,
 6    Philip Morris USA Inc., Altria Client Services LLC,
      Altria Group Distribution Company, and
 7    Altria Enterprises LLC

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                                            JOINT PRETRIAL CONFERENCE STATEMENT
                                                  - 18 -                  CASE NO. 19-md-02913-WHO
     Case 3:19-md-02913-WHO Document 3817 Filed 02/24/23 Page 19 of 20



 1                                      CERTIFICATE OF SERVICE

 2           I hereby certify that on February 24, 2023, I electronically filed the foregoing document

 3   with the Clerk of the Court using the CM/ECF system, which will automatically send notification

 4   of the filing to all counsel of record.

 5                                                          By: /s/ Thomas P. Cartmell
                                                                  Thomas P. Cartmell
 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                                      JOINT PRETRIAL CONFERENCE STATEMENT
                                                   - 19 -                           CASE NO. 19-md-02913-WHO
     Case 3:19-md-02913-WHO Document 3817 Filed 02/24/23 Page 20 of 20



 1                                              EXHIBIT LIST

 2   Exhibit A: Joint submission on jury instructions, both agreed and contested

 3   Exhibit B: SFUSD’s proposed verdict form

 4   Exhibit C: Altria’s proposed verdict form

 5   Exhibit D: Juror questionnaire previously adopted by the Court

 6   Exhibit E: SFUSD’s updated witness list

 7   Exhibit F: Altria’s updated witness list

 8   Exhibit G: SFUSD’s updated Exhibit List

 9   Exhibit H: SFUSD’s updated Priority Exhibit List, with Altria’s objections

10   Exhibit I: Altria’s updated Exhibit List, with Plaintiff’s objections

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                                             CASE MANAGEMENT ORDER NO. 10
                                                    - 20 -                         CASE NO. 19-md-02913-WHO
